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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                       )
UNITED STATES OF AMERICA                               )
ex rel. ANDREW SHEA,                                   )
                                                       )
                       Plaintiff,                      )
                v.                                     )       No. 21-cv-11777-DJC
                                                       )       UNDER SEAL
eHEALTH, INC., et al.,                                 )
                                                       )
                       Defendants.                     )
                                                       )

              NOTICE OF THE UNITED STATES OF ITS ELECTION TO
           INTERVENE IN PART, DECLINE TO INTERVENE IN PART, AND
                   NOT INTERVENE AT THIS TIME IN PART

       Pursuant to the False Claims Act, 31 U.S.C. § 3730(b)(4), the United States notifies the

Court of its decision to intervene in part with respect to the above-captioned action. The United

States intervenes as to defendants eHealth, Inc., eHealthInsurance Services, Inc., Aetna Life

Insurance Company, Humana Inc., Anthem, Inc., GoHealth, Inc., and SelectQuote, Inc. The

United States declines to intervene as to AllScripts Healthcare, LLC. As to Devoted Health, Inc.

and WellCare Health Plans, Inc., the United States has not completed its investigation and so the

United States is not intervening at this time, but will continue its investigation.

       In conjunction with this Notice, the United States requests ninety days to file a Complaint-

in-Intervention in this matter, during which time the matter will remain sealed except as ordered

by the Court.

       Upon the United States filing its Complaint-in-Intervention, the United States requests that

the Court unseal only: the Complaint-in-Intervention; the relator’s qui tam Complaint and any

Amended Complaint; the United States’ Notice of Election to Intervene in Part, Decline to

Intervene in Part, and Not Intervene at This Time in Part; and all pleadings filed thereafter. The
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government further requests that all other papers on file in this action prior to January 13, 2025,

remain under seal because, in discussing the content and extent of the United States’ investigation,

such papers are provided by law to the Court alone for the sole purpose of evaluating whether the

Court should extend the seal and the time for an election to intervene.

       Although the United States has not intervened as to certain of the defendants—AllScripts

Healthcare, LLC, Devoted Health, Inc., and WellCare Health Plans, Inc. (together, the “Non-

Intervened Defendants”)—the government respectfully refers the Court to 31 U.S.C. § 3730(b)(1),

which allows the relator to maintain the action in the name of the United States, provided, however,

that the “action may be dismissed only if the court and the Attorney General give written consent

to the dismissal and their reasons for consenting.” See 31 U.S.C. § 3730(b)(1). Therefore, the

United States requests that, should either the relator or any defendant propose that any part of the

action in which the United States has not intervened be dismissed, settled, or otherwise

discontinued, this Court solicit written consent of the United States before ruling or granting its

approval.

       Furthermore, pursuant to 31 U.S.C. § 3730(c)(3), the United States requests that all papers

filed that relate to the Non-Intervened Defendants be served upon the United States; the United

States also requests that all orders the Court issues related to the Non-Intervened Defendants be

sent to the government’s counsel. The United States reserves the right to order any deposition

transcripts and to intervene in the portion of the action in which it declines to intervene today, for

good cause, at a later date.

       The United States also reserves the right to seek dismissal of any of relator’s claims on any

appropriate grounds, including under 31 U.S.C. §§ 3730(b)(5), (c)(2), or (e)(4).

       A proposed order is attached to this notice.



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Date: January 13, 2025                               Respectfully submitted,

BRIAN M. BOYNTON                                     MARY B. MURRANE
Principal Deputy Assistant Attorney General          Attorney for the United States
                                                     Acting under Authority Conferred by
                                                     28 U.S.C. § 515

                                                     /s/ Charles B. Weinograd
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                                CERTIFICATE OF SERVICE

        I, Charles Weinograd, Assistant United States Attorney, hereby certify that I caused a copy
of the foregoing document to be served by e-mail on the following counsel:

               Gregg Shapiro, Esq.
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Pursuant to 31 U.S.C. § 3730(b)(2), no service was made upon the defendants because this case is
under seal.


Dated: January 13, 2025                 By: /s/ Charles B. Weinograd
                                            Charles B. Weinograd
                                            Assistant United States Attorney




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